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                                                                                                   E-FILED
                                                    Friday, 20 December, 2013 05:03:31 PM
                                                               Clerk, U.S. District Court, ILCD
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

DeLAURENCE ROBINSON,                              )
                                                  )
               Plaintiff,                         )
                                                  )
       -vs-                                       )           No. 13-1282
                                                  )
SCROGUM, et al.,                                  )
                                                  )
               Defendants.                        )

                            ANSWER TO PLAINTIFF’S COMPLAINT

       NOW COME Defendants JOSEPH GARCIA, SUSAN PRENTICE, CLINT RAMSEY,

DALE SCROGUM, and DAVID STROH, by and through their attorney, Lisa Madigan, Attorney

General of the State of Illinois, and hereby file their Answer and Affirmative Defenses to Plaintiff’s

Complaint, stating as follows:

     ALLEGATIONS ENUMERATED IN COURT ORDER DATED OCTOBER 22, 2013

1)     Pursuant to its merit review of the Complaint under 28 U.S.C. § 1915A, the Court finds that

Plaintiff alleges a claim of excessive force against Defendants Scrogum, Prentice, Garcia, Stroh and

Ramsey.

       ANSWER:         Defendants deny violating Plaintiff’s Eighth Amendment Rights, and further

deny any constitutional violation whatsoever.

2)     Pursuant to its merit review of the Complaint under 28 U.S.C. § 1915A, the Court finds that

Plaintiff alleges a claim of retaliation against Defendants Scrogum, Prentice, Garcia, Stroh and

Ramsey.

       ANSWER:         Defendants deny violating Plaintiff’s First Amendment Rights, and further

deny any constitutional violation whatsoever.




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                                           JURY DEMAND

                            Defendants demand a trial by jury in this matter.

                                         RELIEF REQUESTED

                   Defendants deny that Plaintiff is entitled to any relief whatsoever.

                                     AFFIRMATIVE DEFENSES

1)       At all times relevant herein, Defendants acted in good faith in the performance of their

official duties and without violating Plaintiff’s clearly established constitutional or statutory rights of

which a reasonable person would have known. Defendants are, therefore, protected from suit by the

doctrine of qualified immunity.

2)       Plaintiff is barred from recovery for mental or emotional injuries without a prior showing of

physical injury. 42 U.S.C. § 1997e(e).

3)       To the extent Plaintiff has failed to exhaust his administrative remedies prior to the initiation

of this cause of action, Plaintiff’s claim is barred by the Prisoner Litigation Reform Act (42 U.S.C. §

1997).

                                                       Respectfully submitted,

                                                       JOSEPH GARCIA, SUSAN PRENTICE, CLINT
                                                       RAMSEY, DALE SCROGUM, and DAVID
                                                       STROH,

                                                          Defendants,

                                                       LISA MADIGAN, Attorney General,
                                                       State of Illinois

                                                 By:     s/Christopher L. Higgerson
                                                       Christopher L. Higgerson, #6256085
                                                       Assistant Attorney General
                                                       Attorney for Defendants
                                                       500 South Second Street
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD DIVISION

DeLAURENCE ROBINSON,                            )
                                                )
                      Plaintiff,                )
                                                )
       -vs-                                     )          No. 13-1282
                                                )
SCROGUM, et al.,                                )
                                                )
                      Defendants.               )

                                   CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2013, the foregoing document, Answer to Plaintiff’s
Complaint, was electronically filed with the Clerk of the Court using the CM/ECF system which
will send notification of such filing(s) to the following:

       None

and I hereby certify that on the same date, a copy of the foregoing document was mailed by
United States Postal Service, to the following non-registered participant(s):

       DeLaurence Robinson, R20751
       Pontiac Correctional Center
       Post Office Box 99
       Pontiac, Illinois 61764


                                                    Respectfully Submitted,

                                                      s/ Christopher L. Higgerson
                                                    Christopher L. Higgerson, #6256085
                                                    Assistant Attorney General
                                                    Attorney for Defendants
                                                    500 South Second Street
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